                          Case 5:09-cv-00594-F Document 12 Filed 06/29/09 Page 1 of 2
A944()(Rey.02/99) SllwmgllS in a Civil Action
                                    UNITED STATES DISTRICT COURT

                                                                        for the

                                                        Western District of Oklahoma

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                                                                     ~IV~09~594
                               Plaintiff(s),                                                                            .:J~

v.                                                                     )             Case No.
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 C. AlC~ M.e.. COo1i                                                   )

  ~~ t :fok-t\ 15'efundant(s).                                         )



                                                        SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

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          A lawsuit has been filed against you.


        Within 20 days after service ofthis summons on you (not counting the day you received it) - or 60 days if
you are the United States or a United States agency, or an officer or employee ofthe United States described in Fed.
R. Civ. P. 12(a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under
Rule 12 ofthe Federal Rules ofCivil Procedure. The answer or motion must be served on the plaintiffor plaintiff's
attorney, whose name and address are:
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                                                '$'b)'"'   ~\.V    Ro,,.,,,at'"'l"     ~ .....
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      If you fail to respond, judgment by default will be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.




                                                                                                 JUN - 5 iOC3
         PAMELA L. WEEKS -                         ~ ~

Signed and sealed by the Clerk ofthe Court or Deputy Clerk.
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